           Case 1:13-cv-08012-CM-DCF Document 70 Filed 02/14/18 Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF NEW YORK


NIKE, INC and CONVERSE, INC.,
                                                      Case No. 13 Civ. 8012 (CM)
Plaintiffs,

v.                                                    ORAL ARGUMENT REQUESTED

Maria WU et al.

Defendants.



   NOTICE OF NONPARTIES AGRICULTURAL BANK OF CHINA, BANK OF
COMMUNICATIONS, CHINA CONSTRUCTION BANK, CHINA MERCHANTS BANK
AND INDUSTRIAL AND COMMERCIAL BANK OF CHINA LIMITED’S MOTION TO
         QUASH SUBPOENAS AND TO MODIFY THE FINAL ORDER


           PLEASE TAKE NOTICE that nonparties Agricultural Bank of China, Bank of

Communications, China Construction Bank, China Merchants Bank, and Industrial and

Commercial Bank of China (collectively, the “Banks”), by and through their counsel, White &

Case LLP, will appear before this Court, in courtroom 2A of the Daniel Patrick Moynihan

United States Courthouse, 500 Pearl Street, New York, New York 10007-1312, before the

Honorable Colleen McMahon, at a date and time yet to be determined, to present the Banks’

Motion to Quash Subpoenas and to Modify the Final Order (the “Motion”).

             This Motion is based on the accompanying Memorandum of Law, the supporting

 Declaration of Jacqueline L. Chung and exhibits attached thereto; the Declaration of Guo Li

 and exhibits attached thereto; and the Declarations of Du Binyu (Agricultural Bank of China),

 Junjie Shi (Bank of Communications), Fu Qingqing (China Construction Bank), Songliang
                                              1
AMERICAS 94249741
           Case 1:13-cv-08012-CM-DCF Document 70 Filed 02/14/18 Page 2 of 2



 Zhou (China Merchants Bank), and Dong Jianjun (Industrial and Commercial Bank of China

 Limited).

             PLEASE TAKE FURTHER NOTICE that the Banks respectfully request that oral

 argument be heard on this Motion pursuant to Local Rule 6.1.


Dated: February 14, 2018                          /s/ Paul B. Carberry
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                                                  Attorneys for Agricultural Bank of China,
                                                  Bank of Communications, China
                                                  Construction Bank, China Merchants Bank,
                                                  Industrial & Commercial Bank of China
                                                  Limited




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AMERICAS 94249741
